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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA




BRISTOL MYERS SQUIBB COMPANY,

              Plaintiff,
      v.                                 Case No. 1:24-cv-03337-DLF

ROBERT F. KENNEDY, JR., et al.,

              Defendants.




           BRIEF OF STATE AND REGIONAL HOSPITAL ASSOCIATIONS
                AS AMICI CURIAE IN SUPPORT OF DEFENDANTS



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                         CORPORATE DISCLOSURE STATEMENT

         Amici curiae are non-profit organizations. They have no corporate parents and are not

owned in whole or in part by any publicly held corporation.

                                 STATEMENT OF INTEREST1

         Amici curiae are 37 state and regional hospital associations.2 They represent thousands of

hospitals and health systems across the United States. Amici’s members participate in the 340B

drug discount program (the “340B Program”), which is essential to supporting hospitals in their

service to their communities through the delivery of high-quality, efficient, and accessible health

care.

         Hospitals participating in the 340B Program “perform valuable services for low-income

and rural communities but have to rely on limited federal funding for support.” Am. Hosp. Ass’n

v. Becerra, 596 U.S. 724, 738 (2022). Bristol Myers Squibb Company’s (“BMS’s”) unlawful

proposal to provide discounted pricing under the 340B Program through rebates (“rebate

proposal”) would increase costs for 340B hospitals and make it more difficult for them to serve

their patients and communities. Amici therefore have a strong interest in ensuring that BMS cannot

implement the rebate proposal and that their members can continue to access the benefit of the

340B Program as Congress intended.

                                        INTRODUCTION

         BMS’s rebate proposal is an unlawful attempt to self-police the 340B Program and increase

costs for 340B Program providers (“covered entities”). It is fundamentally incompatible with the

text and structure of the 340B statute and the purpose of the Program. See Univ. Med. Ctr. of S.


1 No party’s counsel authored any part of this brief. No one, apart from the amici curiae and their
counsel, contributed money intended to fund the brief’s preparation or submission.
2 A complete list of the amici curiae can be found in the appendix hereto.
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Nev. v. Shalala, 173 F.3d 438, 439 (D.C. Cir. 1999) (Congress was “concerned that many federally

funded hospital facilities serving low-income patients were incurring high prices for drugs.”); see

also NextEra Energy Res., LLC v. FERC, 118 F.4th 361, 371 (D.C. Cir. 2024) (“[C]ourts should

prefer textually permissible readings that would advance statutory or regulatory goals over ones

that would frustrate them. These are bedrock principles of statutory construction.” (internal

citations omitted)). We do not address those statutory arguments here and instead refer the court

to the amici curiae brief filed by other 340B hospital groups. See AHA Amicus Br., ECF No. 37;

see also Intervenors’ Memo. Supp. Cross. Mot. Summ. Judg., ECF No. 39-1, at 18-24. If the Court

agrees with those statutory arguments, the case can end because the Health Resources and Services

Administration (“HRSA”) did not have the authority to approve BMS’s rebate model in the first

place, as HRSA explained in its September 17, 2024, letter to Johnson & Johnson (“J&J”) and in

its December 13, 2024, letter to Sanofi-Aventis U.S. LLC (“Sanofi”). See Letter from Carole

Johnson, Administrator, HRSA, to Joaquin Duato, Chairman and Chief Executive Officer, Johnson

& Johnson, at 2, Sep. 17, 2024, https://www.hrsa.gov/sites/default/files/hrsa/opa/sept-17-2024-

hrsa-letter-johnson-johnson.pdf (hereinafter “J&J Letter”) (noting that requiring covered entities

to purchase drugs at prices that exceed the 340B ceiling price “violates Section 340B(a)(1) of the

PHS Act”); Letter from Carole Johnson, Administrator, HRSA, to Paul Hudson, Chief Executive

Officer,      Sanofi-Aventis       U.S.       LLC,        at     2,       Dec.       13,        2024,

https://www.hrsa.gov/sites/default/files/hrsa/opa/dec-13-2024-hrsa-letter-sanofi.pdf (hereinafter

“Sanofi Letter”) (noting that requiring covered entities to purchase drugs at prices that exceed the

340B ceiling price “violates Section 340B(a)(1) of the PHSA”). Instead, amici submit this brief to

respond to BMS’s many mischaracterizations of how the 340B Program works. Once those




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inaccuracies are corrected, it becomes clear that HRSA’s decision to reject BMS’s rebate proposal

was not arbitrary and capricious.

       In particular, BMS alleges that HRSA’s rejection of the rebate proposal was arbitrary and

capricious because the rebate proposal is similar to the replenishment models covered entities

already use for 340B Program inventory management. But BMS fails to recognize critical

differences between replenishment models and the rebate proposal that justify HRSA’s rejection

of the proposal. BMS also alleges that HRSA’s rejection of the rebate proposal was arbitrary and

capricious because HRSA failed to explain why it approved rebates in other circumstances for

certain types of AIDS Drug Assistance Programs (“ADAPs”), a narrow category of covered

entities, and not BMS’s rebate proposal. But BMS ignores the detailed record explaining the

unique circumstances faced by ADAPs and how they differ from other 340B covered entities. And

BMS incorrectly claims that manufacturers can only comply with their obligations under the

Inflation Reduction Act (“IRA”) by providing 340B pricing through rebates. But BMS disregards

several other mechanisms that could allow manufacturers to meet their IRA obligations without

using 340B rebates in violation of the 340B statute.

       BMS’s failure to grapple with these meaningful distinctions is a distraction from BMS’s

true motive behind its rebate proposal—a desire to evade its obligation under the 340B statute to

offer discounted pricing to covered entities and obtain access to sensitive claims data that it could

later use to attack 340B hospitals. Allowing manufacturers to unilaterally implement 340B rebate

models would transfer enforcement power from HRSA to drug companies, permitting them to

make their own determinations about whether covered entities are entitled to 340B pricing.

Providing 340B pricing through rebates would increase covered entity costs, in contradiction of

the purpose of the 340B Program, and require covered entities to advance millions of dollars to



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cover increased drug costs while waiting for the manufacturer to decide in its sole discretion

whether to grant a 340B rebate. 340B hospitals should not be forced to submit purchase data to

BMS and hope for the best. BMS should be forced to follow the law, just as HRSA did when it

rejected BMS’s illegal rebate model.

       For these reasons, among others, amici believe the Court should reject BMS’s effort to

destabilize the 340B Program for its own financial benefit and grant summary judgment for the

government.

                                          ARGUMENT

I.     340B Rebate Models are Different than Virtual Inventory Replenishment Models.

       BMS alleges that HRSA’s rejection of BMS’s proposal was arbitrary and capricious

because the rebate proposal is similar to the replenishment models covered entities already use for

340B inventory management. See BMS Memo. Supp. Mot. Summ. Judg., ECF No. 17-1, at 32-24.

As acknowledged in HRSA’s September 17, 2024, letter to J&J, however, rebate models differ

from virtual inventory replenishment models (“replenishment models”) in several important ways.

See J&J Letter at 2. That explanation of the obvious (i.e., replenishment models are fundamentally

different from rebate models) was more than sufficient under well-established D.C. Circuit

precedent. See, e.g., Inv. Co. Inst. v. CFTC, 720 F.3d 370, 372-373 (D.C. Cir. 2013) (“So long as

CFTC provided a reasoned explanation for its regulation, and the reviewing court can reasonably

... discern[] the agency’s path, we must uphold the regulation, even if the agency’s decision has

less than ideal clarity.… CFTC’s regulation clears this low bar.” (internal quotation marks

omitted)); see also AHA Amicus Br., ECF No. 37, at 11 n.7 (collecting cases).

       Replenishment models are longstanding systems used by pharmacies to manage different

drug inventories, both in the 340B Program context and outside of the 340B Program. They are

fundamentally different from the rebate model that BMS suddenly imposed last fall. The

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distinctions between the replenishment inventory management system and BMS’s rebate model

payment system provide a rational and sound basis for treating the two differently, demonstrating

that HRSA’s rejection of the rebate proposal was far from arbitrary and capricious.

       A.      Pharmacies have used virtual inventory replenishment models for decades,
               including for reasons unrelated to the 340B Program, and longstanding HRSA
               guidance confirms covered entities can use them without prior approval.

       Hospitals have relied on replenishment models to meet their inventory management and

compliance obligations under the 340B statute for decades—indeed, since the very start of the

340B Program. HRSA first addressed the use of replenishment models in 1994 guidance published

two years after the 340B Program’s enactment. See Final Notice Regarding Section 602 of the

Veterans Health Care Act of 1992 Entity Guidelines, 59 Fed. Reg. 25110 (May 13, 1994). In that

guidance, HRSA discussed the statutory prohibition against diversion, which forbids covered

entities from reselling or otherwise transferring 340B drugs to individuals who are not covered

entity patients. To comply with the prohibition, HRSA recognized that covered entities treating

both 340B-eligible and ineligible patients “must develop and institute adequate safeguards to

prevent [diversion] (e.g., separate purchasing accounts and dispensing records).” Id. at 25112; see

also 42 U.S.C. § 256b(a)(5)(B). HRSA described the safeguards needed to prevent diversion as

“tracking each discounted drug through the purchasing and dispensing process.” 59 Fed. Reg. at

25113 (noting that covered entities can develop alternative systems to demonstrate compliance

“short of tracking each discounted drug through the purchasing and dispensing process,”

confirming that tracking each drug through the purchasing and dispensing process is the standard

system covered entities must use to demonstrate compliance).

       Of course, one possible way that covered entities could track each drug through the process

would be to maintain physically separate inventories of 340B-purchased drugs and non-340B

purchased drugs, so that an entity could verify that it provided 340B drugs only to eligible patients.

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But that is not the only possible way. For many covered entities, physical separation is impractical.

After all, maintaining two separate physical inventories of the same drugs purchased at different

prices is duplicative, causes waste, increases administrative costs, and takes up considerable

physical warehousing space that covered entities may not have to store the drugs. See Notice

Regarding Section 602 of the Veterans Health Care Act of 1992; Contract Pharmacy Services, 61

Fed. Reg. 43549, 43554 (Aug. 23, 1996) (“A separate inventory is a wasteful concept with respect

to time, space and money. Further, it provides little if any additional security, as a separate

inventory only speaks to what is currently on the shelf and not what should be on the shelf.”) These

issues could make it difficult for covered entities to stock needed drugs, which could create patient

access issues.

          To avoid the challenges associated with maintaining physically separate inventories,

covered entities have adopted an inventory replenishment process that uses a single drug inventory

that includes drugs purchased through different accounts and is tracked virtually.

          Replenishment models are not unique to the 340B Program, and pharmacies have used

them to manage drug inventories in other contexts for decades. See, e.g., Abbott Labs. v. Portland

Retail Druggists Ass’n, Inc., 425 U.S. 1, 19-20 (1976) (confirming that a hospital pharmacy can

segregate two different types of drug inventories virtually using a “recordkeeping procedure that

segregates the nonexempt use from the exempt use” and is “supplemented by the hospital’s

submission to its supplier of an appropriate accounting followed by the price adjustment that is

indicated”); Fed. Trade Comm’n, University of Michigan Advisory Opinion Letter to Dykema

Gossett      (Apr.    9,    2010),     https://www.ftc.gov/sites/default/files/documents/advisory-

opinions/university-michigan/100409univmichiganopinion.pdf (approving a hospital’s use of a

“GPO replenishment-based drug benefit program” under which a pharmacy would fill



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prescriptions using its own inventory and, later, if it is determined that certain dispenses were

eligible for different pricing, the hospital would place an order through a different purchasing

account to replace or replenish drugs that were previously dispensed by the pharmacy); Publication

of OIG Special Advisory Bulletin on Patient Assistance Programs for Medicare Part D Enrollees,

70 Fed. Reg. 70623, 70624 (Nov. 22, 2005) (noting that “[s]ome [Patient Assistance Programs]

offer assistance directly to patients, while others replenish drugs furnished by pharmacies, clinics,

hospitals, and other entities to eligible patients whose drugs are not covered by an insurance

program”).

       Early in the 340B Program’s history, HRSA confirmed that covered entities may use

replenishment models to meet program compliance rules. 59 Fed. Reg. at 25111 (“There is no

requirement for separate inventories.”); 61 Fed. Reg. at 43554 (“However, the requirement for a

separate inventory of 340B drugs is unnecessary, because the covered entity is required to monitor

dispensing and inventory records. In addition, these records are also subject to Department and

manufacturer audits.”). And that guidance remains in force today. For instance, HRSA’s technical

assistance contractor, Apexus, maintains an FAQ reiterating that covered entities do not have to

use separate inventories, so long as covered entities “have fully auditable purchasing and

dispensing records that document compliance with all 340B requirements.” Apexus FAQ 1343

(Nov. 10, 2014), https://www.340bpvp.com/search#q=1343&tab=faq (last accessed Mar. 7,

2025). When commenters asked HRSA to require pre-approval of all “safeguard systems” used by

covered entities to prevent diversion, HRSA confirmed that “procedures in these areas need no

prior approval.” 59 Fed. Reg. at 25111. HRSA’s consistent approval of this inventory management

system from the very beginning of the 340B Program is entitled to “great weight.” Loper Bright




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Enters. v. Raimondo, 603 U.S. 369, 388 (2024); see generally AHA Amicus Br., ECF No. 37, at

14-16.

         HRSA has acknowledged that a “large number of hospitals use replenishment models to

operationalize the 340B Program.” Notice, 340B Drug Pricing Program Omnibus Guidance, 80

Fed. Reg. 52300, 52305 (Aug. 28, 2015) (withdrawn Jan. 30, 2017). And HRSA has described the

replenishment model as follows:

         Covered entities use replenishment models to manage drug inventory, including
         340B drugs, which is permissible if the covered entity remains in compliance with
         all 340B requirements. For example, a 340B covered entity that sees many different
         types of patients (e.g., inpatients, 340B-eligible outpatients, and other outpatients)
         would tally the drugs dispensed to each type of patient and then replenish the drugs
         used by reordering from the appropriate accounts. Some covered entities use
         software, referred to as accumulators, to track drug use for each patient type. The
         accumulator software would indicate which drugs are available to reorder on
         various accounts. In this example, the covered entity counts the units or amounts
         received by each 340B eligible patient. Once the covered entity has dispensed
         enough of a certain drug to equal an available package size, the covered entity could
         reorder that drug at the 340B price. Once drugs are received in inventory, the drugs
         lose their identity as 340B drugs, inpatient GPO drugs, or outpatient non-340B/non-
         GPO drugs. Each 340B drug order placed should be supported by auditable records
         demonstrating prior receipt of that drug by a 340B-eligible patient.

Id. at 52308 (emphasis added).

         To summarize, below are the typical steps under the 340B replenishment model:

         1.   Covered entity maintains separate drug purchasing accounts based on different
              types of pricing available (e.g., 340B account, group purchasing organization
              (“GPO”) account, wholesale acquisition cost (“WAC”) account).

         2.   Covered entity maintains a drug inventory that includes products purchased
              through all different accounts mixed in one physical inventory.

         3.   Covered entity administers/dispenses drugs to patients using drugs from mixed
              inventory.

         4.   After administering/dispensing to a patient, covered entity identifies the type
              of pricing the patient is eligible to receive. Covered entity uses “split-billing
              software” to accumulate drug utilization based on the eligibility determination.
              For example, administrations/dispenses to outpatients eligible to receive 340B


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            drugs are accumulated at 340B pricing. Administrations/dispenses to
            inpatients accumulate at GPO pricing. Administrations/dispenses to
            outpatients who are ineligible for 340B pricing are accumulated at either GPO
            or WAC pricing, depending on the type of covered entity (the 340B statute
            includes a “GPO prohibition” applicable to certain types of hospitals that
            prevents them from purchasing “covered outpatient drugs” through a GPO. See
            42 U.S.C. § 256b(a)(4)(L)(iii)); see also Apexus, GPO Prohibition Hospitals
            Sample      Policy     and       Procedure     Manual      (DSH/PED/CAN),
            https://www.340bpvp.com/Documents/Public/340B%20Tools/sample-
            policy-and-procedure-manual-gpo-prohibition-hospitals.docx (last accessed
            Mar. 7, 2025).

       5.   Upon accumulating a full package size of a particular drug, the covered entity
            places a replenishment order through the appropriate account based on eligible
            accumulations.

       6.   Covered entity’s wholesaler ships the replenishment drugs to the covered
            entity, and the drugs are incorporated into the virtual inventory to replace the
            previously dispensed drugs.

Many hospitals using replenishment models have implemented these steps for years. The

replenishment model’s longstanding recognition as an approved means of 340B Program

participation and compliance meaningfully distinguishes it from BMS’s novel rebate proposal,

which has nothing to do with inventory management and is instead an effort by drug companies to

control whether or when to actually provide covered entities the 340B discounts they are owed

under the statute.

       B.      Replenishment models allow covered entities to make upfront purchases at
               340B prices, whereas the rebate proposal would prohibit upfront 340B
               purchases.

       As HRSA noted in its September 17, 2024, letter to J&J, another key difference between

replenishment models and the BMS rebate proposal relates to when covered entities are able to

access 340B pricing. Under a replenishment model, covered entities can access 340B pricing right

away at the point of purchase. The rebate proposal, by contrast, would require delayed access to

340B pricing in every instance. See J&J Letter at 2 (noting that “under a typical replenishment

structure, a covered entity generally makes an initial purchase at a higher price, then subsequent,

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ongoing drug purchases are at the 340B price”). As outlined above, when a covered entity has

accumulated enough dispenses/administrations of a drug to 340B-eligible patients, the entity can

place a replenishment order for the drug through its 340B pricing account. The entity’s wholesaler

will then ship the drugs and invoice the entity at the 340B price, allowing the entity to access 340B

pricing immediately. Although this purchase occurs after the drug was dispensed or administered

to replenish that drug supply, the covered entity’s access to 340B pricing is simultaneous with the

replenishment purchase. In contrast, under BMS’s rebate proposal, a covered entity would not

access 340B pricing through a rebate until after making a purchase.

       Moreover, in cases where a drug is a single dose, the covered entity can place a

replenishment order after one single dispense/administration without waiting for additional

accumulations. This allows covered entities to place the 340B replenishment order right away after

the drug use. The covered entity’s access to 340B pricing is effectively simultaneous with the drug

dispense/administration, whereas the rebate proposal would create an undetermined delay after the

drug use until the manufacturer hopefully approves the rebate.

       HRSA also noted another important distinction in its letter to J&J: “under a typical

replenishment structure, a covered entity generally makes an initial purchase at a higher price, then

subsequent, ongoing drug purchases are at the 340B price.” Id. Under the rebate proposal,

however, every purchase would be at a higher price. BMS misses this point in its argument and

mischaracterizes how the replenishment model works.

       In its complaint, BMS says “there is no material difference between” the rebate proposal

and the replenishment model. Compl., ECF No. 1, ¶ 101. BMS also says that, in a virtual inventory

replenishment model, “a covered entity must first pay the market price for covered outpatient

medicines.” Memo. Supp. Mot. Summ. Judg., ECF No. 17-1, at 33. But this is not how the Program



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functions. Often, hospitals that use a replenishment model rarely purchase at WAC prices and

instead primarily purchase at 340B prices, except for the initial purchase.

       For example, for hospitals subject to the prohibition on using a GPO to purchase “covered

outpatient drugs,”3 HRSA has advised that when they use a replenishment model, they should first

“purchase using a non-GPO account and only replenish with 340B drugs once 340B patient

eligibility is confirmed and can be documented through auditable records.” HRSA 340B Drug

Pricing Program Notice, Release No. 2013-1, Statutory Prohibition on Group Purchasing

Organization                Participation                (Feb.                7,               2013),

https://www.hrsa.gov/sites/default/files/hrsa/opa/prohibition-gpo-participation-02-07-13.pdf (last

accessed Mar. 7, 2025). This means when a hospital subject to the GPO prohibition first orders

drug inventory, it must do so at non-340B, non-GPO pricing (often WAC prices). The next

purchase, however, is critical—and exactly where BMS loses the thread. Once the hospital

maintains a WAC inventory and begins accumulating dispenses/administrations, the hospital may

then place replenishment orders at 340B or GPO prices upon achieving sufficient accumulations.

In many cases, particularly when most or nearly all patients in a hospital location are 340B-eligible,

the hospital will almost exclusively accumulate dispenses at 340B prices and will generally place

replenishment orders at 340B prices. In this scenario, the hospital will nearly always get access to

340B pricing immediately after initially purchasing the inventory at WAC pricing. In contrast,

BMS’s rebate proposal would require the hospital to always purchase drugs at WAC prices. As

such, despite BMS’s best efforts to equate the replenishment model with the rebate proposal, “one

of these things is not like the other[].” Karczewski v. DCH Mission Valley LLC, 862 F.3d 1006,




3 See 42 U.S.C. § 256b(a)(4)(L)(iii).


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1018–19 (9th Cir. 2017) (citing SESAME STREET, One of These Things (Is Not Like the Others), on

SESAME STREET BOOK & RECORD (Columbia Records 1970)).

       Lastly, the replenishment model is different than the rebate proposal because covered

entities have certainty under the replenishment model that when they place an order at 340B

pricing, they will be pay the 340B price, whereas the rebate proposal affords no such certainty.

The manufacturer plays no role in validating a 340B purchase under the replenishment model,

which gives a covered entity confidence that the purchase will generate 340B savings. This

certainty permits covered entities to make decisions on their operations, patient care, and use of

340B savings. For example, a covered entity may be able to provide a discounted price to a low-

income patient, knowing that the entity was able to acquire the drug at a discounted price. Under

the rebate proposal, however, the entity would not know whether the manufacturer will ultimately

approve the rebate and, therefore, may not know whether providing a discounted drug price to the

patient would be feasible.

II.    Even if the Secretary Has Authority to Approve a Rebate Model, HRSA’s ADAP
       Guidance Does Not Make its Rejection of the Rebate Proposal Arbitrary and
       Capricious.

       As outlined by intervenors, amici agree that the proposed rebate model is unlawful per se

and that HRSA lacks authority to approve any rebate plan. See Memo. Supp. Cross. Mot. Summ.

Judg., ECF No. 39-1, at 18-24. We do not address those arguments here and instead refer the court

to the brief filed by the intervenors. But, in the event the court finds HRSA does have authority to

approve a rebate plan, amici submit that HRSA’s denial of BMS’s rebate plan (even though HRSA

permitted rebates in the special circumstances of the ADAP programs) was lawful, and certainly

not arbitrary and capricious. That HRSA permitted rebates in the special circumstances of the

ADAP programs does not change that conclusion.



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       In 1998, HRSA issued guidance recognizing a 340B rebate option as an alternative method

of accessing 340B prices for one specific type of covered entity: ADAPs, due to the unique

structure of these covered entities. See Final Notice Regarding Section 602 of the Veterans Health

Care Act of 1992— Rebate Option, 63 Fed. Reg. 35239 (June 29, 1998). ADAPs provide drugs to

low-income individuals living with HIV/AIDS. See HRSA, Part B: Assistance Program (ADAP),

https://ryanwhite.hrsa.gov/about/parts-and-initiatives/part-b-adap.   BMS   emphasizes     in   its

complaint that HRSA “has acted arbitrarily and capriciously by treating BMS’s intended 340B

rebate model differently from the ADAP rebate model even though there being no material

difference between the two.” Compl., ECF No. 1, ¶ 103. However, in its notice recognizing the

rebate model for ADAPs, HRSA explained in detail why it recognized the model for ADAPs and

not for other covered entities. Moreover, the rebate model proposed by BMS differs from the

ADAP model recognized by HRSA in meaningful ways, particularly given that HRSA envisioned

that rebates would be an option for ADAPs, not a mechanism required by manufacturers.

       A.      HRSA explained why the ADAP rebate model was needed for ADAPs and not
               for other covered entities.

       There is an extensive record explaining why HRSA recognized a limited rebate model

option for ADAPs in 1998 and why HRSA chose not to extend the rebate option to other covered

entities. When finalizing the rebate option, HRSA said it developed the option “in response to a

clear need by certain State ADAPs which are unable to access [340B] pricing through the direct

discount option.” 63 Fed. Reg. at 35240. HRSA acknowledged that the rebate option was only

available to ADAPs, not to other covered entities, because ADAPs operate differently than other

covered entities. Specifically, HRSA said the rebate option would be accessed by a subset of

ADAPs, those that use “decentralized drug purchasing.” Id. In response to HRSA’s proposal to

allow a limited rebate model for ADAPs, commenters explained that ADAPs are “more like State-


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run pharmaceutical benefit programs” and that their support of HRSA’s proposal to recognize

rebates for ADAPs “would be different if HRSA proposed a rebate program for all covered

entities.” 63 Fed. Reg. at 35241.The commenters went on to say, “[a]ccordingly, we urge that the

rebate mechanism be an option only for meeting the unique needs of the State ADAP programs

and that HRSA not consider any further expansion to other categories of entities.” Id. HRSA

agreed with the comments and confirmed the notice “only recognizes a rebate option for the State

AIDS Drug Assistance Programs that receive assistance under Title XXVI of the PHS Act.” 63

Fed. Reg. at 35241-42.

       When proposing the ADAP rebate model option, HRSA explained:

       Initially, HRSA guidance for the section 340B program described only a discount
       process. Covered entities generally preferred a discount system, because they could
       negotiate lower prices and needed less initial outlay of drug purchasing money.
       Although the discount system is functioning successfully for most covered entities,
       most ADAPs have drug purchasing systems that have prevented their participation
       in the section 340B discount program. The use of a rebate option (in addition to the
       discount mechanism) should allow these groups to access section 340B pricing.

Notice Regarding Section 602 of the Veterans Health Care Act of 1992 Rebate Option, 62 Fed.

Reg. 45823, 45824 (Aug. 29, 1997).

       The Department of Health and Human Services Office of the Inspector General (“HHS

OIG”) has also addressed the unique needs of certain ADAPs that could benefit from the rebate

option, explaining that ADAPs use two purchasing mechanisms: the direct purchase mechanism

and the rebate mechanism. See HHS OIG, OEI-05-99-00610, AIDS Drug Assistance Program Cost

Containment Strategies (Sep. 2000), at 9, https://oig.hhs.gov/documents/evaluation/2127/OEI-05-

99-00610-Complete%20Report.pdf (hereinafter “OIG Report”). Under the direct purchase

mechanism, the ADAP purchases drugs through a central purchaser or other entities, such as a

state pharmacy, purchasing agent, or public agency/hospital. Id. Under the rebate mechanism,

ADAPs that do not have a central purchaser contract with a pharmacy network or pharmacy

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benefits management company to purchase drugs for the ADAP, and the ADAP reimburses the

purchasing entity. Id. The OIG explained that initially, only ADAPs using the direct purchase

mechanism could access 340B pricing, and many ADAPs using a rebate mechanism were unable

to participate in 340B until HRSA’s guidance recognizing a 340B rebate option for ADAPs. Id. at

10. The OIG described the 340B Program as “intended to provide an up-front discount off the

purchase price of pharmaceuticals,” and noted that HRSA’s “340B rebate option was designed to

specifically accommodate those ADAPs with a reimbursement structure.” Id. at 22. The OIG

confirmed: “Only ADAPs are eligible to participate in this option.” Id.

       BMS says “ADAPs are not meaningfully different from other covered entities,” but

mischaracterizes ADAP operations. See Memo. Supp. Mot. Summ. Judg., ECF No. 17-1, at 31.

BMS cites to a HRSA guidance manual for ADAPs that says ADAPs “submit claims to drug

manufacturers for rebates on medications that were purchased through a retail pharmacy network

at a price higher than the 340B price.” Id. (quoting HIV/AIDS Bureau, AIDS Drug Assistance

Program       (ADAP)         Manual,       42        (June       2023)        (ADAP     Manual),

https://targethiv.org/sites/default/files/media/documents/2023-06/adap-manual.pdf). BMS goes

on to say, “that is exactly how other entities use the [inventory replenishment] model: They

purchase drugs at the market price, often through a pharmacy network, and later reconcile that

purchase with the 340B ceiling price.” Id. However, that is not how other covered entities use the

inventory replenishment model. The reference in the ADAP manual to drugs purchased through a

“retail pharmacy network” describes how ADAPs using a rebate mechanism contract with a

pharmacy network or pharmacy benefits management company to purchase drugs for them, which

are later reimbursed by the ADAP. This is a unique purchasing mechanism that applies only to

certain ADAPs, and not to other covered entities. Other covered entities may dispense drugs



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though a pharmacy network (e.g., contract pharmacies) and replenish them at 340B prices, but

they do not buy drugs through a pharmacy network like some ADAPs do.

        As this extensive record shows, HRSA’s decision to permit a rebate option for ADAPs but

not for other covered entities is hardly arbitrary or capricious. To be sure, “[w]here an agency

applies different standards to similarly situated entities and fails to support this disparate treatment

with a reasoned explanation and substantial evidence in the record, its action is arbitrary and

capricious and cannot be upheld.” Burlington N. & Santa Fe Ry. Co. v. Surface Transp. Bd., 403

F.3d 771, 777 (D.C. Cir. 2005). But a “necessary component of any claim that an agency acted

arbitrarily and capriciously in this respect is that the differently treated entities are, in fact,

‘similarly situated.’” Vanda Pharms., Inc. v. Food & Drug Admin., 2023 WL 6035663, at *14

(D.D.C. Aug. 2, 2023) (citing Anna Jacques Hosp. v. Sebelius, 583 F.3d 1, 7 (D.C. Cir. 2009)).

        Here, HRSA has provided a detailed and reasoned explanation for why ADAPs are

fundamentally different from other 340B covered entities. As documented in the record, many

ADAPs operate through unique purchasing systems that limit their ability to participate in the

340B Program through a discount model. And HRSA’s approval of the ADAP rebate option was

designed specifically to accommodate ADAPs that employ a reimbursement structure, rather than

a direct purchasing structure. These ADAPs’ unique needs more than justify what might otherwise

be characterized as any inconsistency in approach. See, e.g., Health Alliance Hospitals, Inc. v.

Burwell, 130 F. Supp. 3d 277, 302 (D.D.C. 2015) (agency action not arbitrary and capricious where

activities to which agency applied supposedly disparate rules were “not similarly situated” and

agency had “adequately explained the reasons for the disparate treatment”); TransCanada

Pipelines Ltd. v. FERC, 878 F.2d 401, 414-15 (D.C. Cir. 1989) (noting that different treatment

“that is based on relevant, significant facts which are explained would not be arbitrary and



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capricious”); see also Gilbert v. NLRB, 56 F.3d 1438, 1445 (D.C. Cir. 1995) (“[W]here the

circumstances of the prior cases are sufficiently different from those of the case before the court,

an agency is justified in declining to follow them, and the court may accept even a laconic

explanation as an ample articulation of its reasoning.” (quotation marks omitted)).

       B.      BMS’s rebate proposal differs from the ADAP rebate model in ways that
               would prevent it from meeting HRSA’s ADAP rebate model requirements.

               1.   The ADAP rebate model is optional for covered entities, whereas the BMS
                    rebate proposal is mandatory.

       In recognizing the ADAP rebate model, HRSA indicated that manufacturers could meet

their statutory obligation to offer 340B prices to ADAPs by providing rebates, but HRSA did not

authorize manufactures to mandate the use of rebates as the only mechanism to make 340B pricing

available. Rather, HRSA allowed ADAPs to choose whether to access 340B prices via rebates and,

in those cases, mandated that manufacturers recognize an ADAP’s request for rebates.

       For example, HRSA referred to the ADAP 340B model as the “State ADAP Section 340B

Rebate Option.” 63 Fed. Reg. at 35242 (emphasis added). Commenters asked HRSA to clarify that

the rebate option is an “alternate to” an upfront discount mechanism and that “the choice of a

single mechanism should be made by each State ADAP.” 63 Fed. Reg. at 35240 (emphasis added).

In response, HRSA confirmed that the ADAP rebate option is an “alternate method of accessing

340B pricing” intended for those state ADAPs unable to access upfront discounts, and in cases

where a state ADAP uses both a direct purchase mechanism and a rebate mechanism, some ADAPs

“may elect to access pricing through a rebate mechanism while other ADAP components may

develop systems to access a direct discount.” Id. (emphasis added). HRSA also confirmed that

manufacturers and ADAPs could enter into contractual agreements to address rebate terms and

“mutually acceptable solutions.” Id. at 35241. HRSA’s responses demonstrate that the use of the



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rebate option was a choice for ADAPs to make and that HRSA’s guidance did not allow

manufacturers to mandate the use of a 340B rebate model.

       HRSA also confirmed that if an ADAP requests a 340B rebate, the manufacturer must

provide the rebate, revealing the mandatory nature of the rebate model as it relates to

manufacturers, not covered entities. Id. at 35240-41. HRSA acknowledged that some

manufacturers may have previously offered 340B rebates to ADAPs through voluntary rebate

agreements, whereas HRSA clarified in the rebate option guidance that the 340B statute required

manufacturers to offer rebates upon request from an ADAP. The OIG confirmed the mandatory

nature of the rebate option with respect to manufacturers, not covered entities, characterizing

HRSA’s 1998 guidance as allowing states that select the rebate option to access the 340B price

and “lessening the burden on them to negotiate with individual manufacturer’s [sic] for voluntary

rebates.” OIG Report at 10.

               2.   The ADAP rebate option prohibits manufacturers from requiring assurances
                    of compliance, whereas the BMS rebate proposal requires covered entities to
                    demonstrate eligibility.

       When finalizing the ADAP rebate option, HRSA reminded manufacturers that prior HRSA

guidance regarding manufacturer contract requirements also applies to the ADAP rebate option

and that “a manufacturer may not condition a rebate contract or agreement upon an entities’ [sic]

compliance with the provisions of section 340B.” 63 Fed. Reg. at 35239; see also AHA Amicus

Br., ECF No. 37, at 14 & n.9. In the event that manufacturers had designed voluntary rebate

agreements “predicated” on 340B compliance, HRSA instructed them to revise the agreements for

purposes of 340B rebate agreements to remove those elements. 63 Fed. Reg. at 35239-40. In

contrast, BMS would require covered entities to submit data demonstrating a claim is 340B-

eligible before granting a rebate. See Compl., ECF No. 1, ¶ 56.



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                3.   The ADAP rebate option requires standard business practices, and the
                     requirements under the BMS rebate proposal would not meet these standards.

         HRSA also recognized that “standard business practices” should be used by ADAPs and

manufacturers. 63 Fed. Reg. at 35242 (recognizing that standard business practices “are

appropriate for the development of rebate contracts and agreements between State ADAPs and

manufacturers); see also id. at 35240 (“Standard business practices should be utilized by State

ADAPs and manufacturers.”). However, BMS’s proposed rebate model would not satisfy HRSA’s

standard business practices requirement.

         HRSA noted that manufacturers can use the Medicaid rebate program as a model for

development of ADAP rebate agreements and encouraged manufacturers to use the Medicaid

claim form as a model because it could be considered a “standard business practice model.” Id. at

35240. Importantly, HRSA recognized: “Pharmacy specific data (prescription number, date of

reimbursement, and similar data elements) are not reported on the initial Medicaid utilization

submission and are not considered the standard for initial claim submission.” 63 Fed. Reg. at

35241. Because BMS’s rebate proposal would require covered entities to submit pharmacy specific

data elements such as these, the proposal would not meet HRSA’s requirement for ADAP 340B

rebate models to be standard business practices. See Compl., ECF No. 1 ¶ 55 (“BMS intends to

rely on the Second Sight Solutions Beacon platform to operationalize the model.”); see also

Beacon     Support    Center,   Frequently   Asked   Questions   (FAQs),    Data   Submissions,

https://support.beaconchannelmanagement.com/en/articles/9589827-frequently-asked-questions-

faqs#h_72b90ecc08 (last accessed March 24, 2025).

         Given the numerous differences between the rebate proposal and the ADAP rebate option,

the fact that HRSA permitted rebates in narrow cases for certain types of ADAPs does not mean

that HRSA’s rejection of BMS’s rebate proposal was arbitrary and capricious.


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III.    340B Rebate Models Are Not Necessary to Implement the IRA Medicare Negotiation
        Program.

        In an additional attempt to support its position, BMS argues the rebate proposal should be

permitted because it will allow BMS to comply with requirements under the IRA to offer covered

entities the lower of the 340B price or the maximum fair price (“MFP”) (i.e., the discounted price

manufacturers must offer under the Medicare drug negotiation program). See 42 U.S.C. § 1320f-

2(d). BMS says the rebate proposal is the only way to prevent duplication under the IRA. See BMS

Memo. Supp. Mot. Summ. Judg., ECF No. 17-1, at 38 (“The only mechanism BMS and other

manufacturers have to access those data and deduplicate 340B and MFP price concessions is the

cash-rebate model.”). BMS also says the Centers for Medicare and Medicaid Services (“CMS”)

requires manufacturers to provide the MFP by rebate within 14 days. Id. at 16. However, neither

the IRA nor CMS guidance mandates that manufacturers provide the MFP retrospectively, and

there are other mechanisms available to effectuate the IRA apart from a 340B rebate model.

        A.     The IRA does not require 340B rebates.

        The IRA requires manufacturers to provide pharmacies and providers with “access to [the

MFP]” for drugs selected for negotiation (“selected drugs”) that are dispensed to Medicare

beneficiaries. 42 U.S.C. § 1320f-2(a)(1). With respect to covered entities, the IRA requires

manufacturers to provide the lower of the 340B price or the MFP in a “nonduplicated amount”

(referred to as the “340B non-duplication provision”). Id. § 1320f-2(d)(2). The non-duplication

provision protects manufacturers from providing both the 340B price and the MFP on the same

drug cumulatively. The statute does not define how manufacturers must provide covered entities

with access to the MFP or how to prevent 340B duplication, and there is no requirement for

manufacturers to use 340B rebate models.


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       B.      CMS guidance recognizes another option for manufacturers to provide the
               MFP that would prevent 340B duplication and does not require 340B rebates.

       CMS issued guidance addressing how manufacturers must provide access to the MFP and

acknowledged that they can do so “in one of two ways: (1) prospectively ensuring that the price

paid by the dispensing entity when acquiring the drug is no greater than the MFP; or (2)

retrospectively providing reimbursement for the difference between the dispensing entity’s

acquisition cost and the MFP.” CMS, Medicare Drug Price Negotiation Program: Final Guidance,

Implementation of Sections 1191 – 1198 of the Social Security Act for Initial Price Applicability

Year 2027 and Manufacturer Effectuation of the Maximum Fair Price in 2026 and 2027 (Oct. 2,

2024), § 40.4 at 196, https://www.cms.gov/files/document/medicare-drug-price-negotiation-final-

guidance-ipay-2027-and-manufacturer-effectuation-mfp-2026-2027.pdf          (hereinafter    “CMS

Guidance”). If manufacturers choose the second option and provide the MFP retrospectively

through rebates, they must either provide the rebate within 14 days of receiving information to

verify MFP eligibility or explain that they are not providing a rebate because the claim is for a

340B drug and the 340B price is less than the MFP. Id.

       BMS appears to be taking the position that its 340B rebate proposal is needed so it can

collect information from covered entities to identify 340B claims and determine whether to issue

an MFP refund, and this structure is the only way for BMS to meet CMS requirements and prevent

340B duplication. See Compl., ECF No. 1, ¶ 50 (“MFP-340B nonduplication can be effectuated

only if a unit is timely identified as 340B.”). However, CMS guidance does not require

manufacturers that provide the MFP prospectively to collect 340B claims data and identify 340B

claims within 14 days to prevent 340B duplication. A manufacturer that provides the MFP

prospectively is not required to issue an MFP refund and instead can simply report that it provided


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the MFP prospectively through an agreement with the dispensing entity. CMS Guidance § 40.4.3.1

at 215-20. If a manufacturer provided the MFP prospectively, covered entities could add a new

purchasing account to their existing replenishment systems. Upon dispensing a selected drug to an

MFP-eligible Medicare beneficiary, a covered entity would accumulate the dispense at the

appropriate pricing. If the entity dispensed the drug to a 340B-eligible Medicare beneficiary and

the 340B price was less than the MFP, the drug would accumulate at 340B pricing. If the entity

dispensed the drug to a Medicare beneficiary and the MFP was less than the 340B price, the drug

would accumulate at MFP pricing. Upon reaching sufficient accumulations, entities would place

replenishment orders through the appropriate account. Duplication would not occur because

entities can purchase a single drug through only one account; it would not be possible for an entity

to purchase a drug at both 340B and MFP pricing. A manufacturer would not issue an MFP refund

on a claim that was already purchased at either the 340B or MFP price, because the manufacturer

would have agreements in place with covered entities to provide MFP pricing prospectively and

would know not to provide MFP refunds on claims billed by covered entities.4 Covered entities

have provided detailed information to CMS on how manufacturers could prevent 340B duplication

by making MFP pricing available prospectively.5


4 With respect to pharmacies that contract with covered entities to dispense 340B drugs on a
covered entity’s behalf (“contract pharmacies”) and bill under the contract pharmacy’s billing
number, a manufacturer may not know a claim was for a drug purchased by a covered entity at a
prospective discount. In these cases, a retrospective process could be used to prevent 340B
duplication, as is discussed further below.
5 See Letter from Maureen Testoni, 340B Health, to Meena Seshamani, Department of Health &
Human Services, Centers for Medicare & Medicaid Services, Center for Medicare, July 2, 2024,
https://www.340bhealth.org/files/340B-Health-Comments-on-5.3.24-IRA-Draft-Guidance-
7_.2.24.pdf (last accessed March 7, 2025) (hereinafter “340B Health Letter to CMS”); Letter from
Advocates for Community Health, Ryan White Clinics for 340B Access, National Alliance of
State & Territorial AIDS Directors, HIV Medicine Association, National Rural Health
Association, America’s Essential Hospitals, Association of American Medical Colleges, and 340B
Health, to Meena Seshamani, Department of Health & Human Services, Centers for Medicare &

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       C.      CMS guidance recognizes a credit/debit ledger system to prevent duplication
               retrospectively, and there are proven models for covered entities to submit
               retrospective 340B claim files.

       CMS guidance acknowledges there may be situations where a manufacturer issues an MFP

refund within 14 days for a claim that is later determined to be for a 340B-purchased drug and the

340B price is less than the MFP, thereby creating duplication. In these cases, a manufacturer may

use a “credit/debit ledger system” to reverse the MFP refund and “reconcile the duplicated

discounts.” CMS Guidance § 40.4.5 at 231. As such, if manufacturers are not able to implement

340B rebate models to identify 340B claims within 14 days and avoid paying MFP refunds, there

would be a mechanism available to identify duplication retrospectively and reverse the MFP

refund. Similarly, if a manufacturer issues an MFP refund on a claim for a 340B-purchased drug

and the MFP is less than the 340B price, the manufacturer could presumably use the credit/debit

ledger system to reverse the 340B purchase to avoid duplication.

       Systems already exist for covered entities to retrospectively identify claims for selected

drugs dispensed to Medicare beneficiaries that were purchased at 340B prices, as covered entities

have explained to CMS. See 340B Health Letter to CMS; Covered Entity Joint Letter to CMS;



Medicaid Services, Center for Medicare, July 2, 2024, https://www.340bhealth.org/files/Joint-
Comments-on-5.3.24-IRA-Draft-Guidance-7_.2.24.pdf (last accessed March 7, 2025) (hereinafter
“Covered Entity Joint Letter to CMS”); Letter from Ashley Thompson, Senior Vice President,
Public Policy Analysis and Development, American Hospital Association, to Meena Seshamani,
Deputy Administrator and Director of the Center for Medicare, Centers for Medicare & Medicaid
Services, July 2, 2024, https://www.aha.org/system/files/media/file/2024/07/aha-submits-
comments-on-cms-guidance-for-medicare-drug-price-negotiation-program-letter-7-2-24.pdf (last
accessed March 7, 2025) (hereinafter “AHA Letter to CMS July 2024”); Letter from Ashley
Thompson, Senior Vice President, Public Policy Analysis and Development, American Hospital
Association, to Meena Seshamani, Deputy Administrator and Director of the Center for Medicare,
Centers       for    Medicare      &       Medicaid     Services,      Dec.     26,     2024,
https://www.aha.org/system/files/media/file/2024/12/AHA-Letter-to-CMS-on-Medicare-
Transaction-Facilitator-and-Drug-Negotiation-Program.pdf (last accessed March 7, 2025)
(hereinafter “AHA Letter to CMS December 2024”) (hereinafter “AHA Letter to CMS December
2024”).

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AHA Letter to CMS July 2024; and AHA Letter to CMS December 2024. For example, under a

longstanding model used by Oregon Medicaid to prevent duplication between 340B discounts and

Medicaid rebates, covered entities submit a file to the state’s rebate vendor that identifies

previously dispensed 340B claims. Oregon Health Authority, Retroactive 340B Claims File

Instructions                        (Jan.                        2,                          2024),

http://www.oregon.gov/oha/HSD/OHP/Tools/340B%20Claims%20File%20Instructions%20and

%20Design.docx. The state’s rebate vendor uses the information to match 340B claims to claims

identified as rebate-eligible to remove 340B claims and ensure the state does not include them in

rebate invoices submitted to manufacturers. Covered entities could submit a similar file to the

Medicare Transaction Facilitator (“MTF”) CMS will use to operationalize the negotiation

program. The MTF could match prior 340B dispenses to claims for which manufacturers issued

MFP refunds. Manufacturers could then use the credit/debit ledger system to reverse any

duplication. None of this would require the use of 340B rebates. Although BMS may have a

preference to provide the MFP via rebates and rely on a 340B rebate model to prevent duplication,

there are other methods available to effectuate the IRA. Critically, moreover, those other methods,

unlike BMS’s model, are actually compliant with the 340B statute. See AHA Amicus Br., ECF

No. 37, at 7 & n.4.

       BMS is flat wrong that the only way to comply with both the IRA and the 340B statute is

via a rebate model. That is untrue, both because there are multiple ways to comply with both

statutes and because BMS’s preferred method is “incompatible” with the 340B law. Astra USA,

Inc. v. Santa Clara Cty., 563 U.S. 110, 113 (2011). These inescapable facts are more than enough

to dispose of BMS’s meritless APA claim. BMS’s arguments do not support its claim that HRSA’s

denial of the proposed rebate model was arbitrary and capricious or otherwise unjustified.



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                                      CONCLUSION

      BMS’s rebate proposal would increase costs for 340B hospitals and make it more difficult

for them to serve their patients and communities. For the reasons above and those stated by

Defendants, HRSA was correct to reject BMS’s unlawful rebate proposal, and the Court should

deny BMS’s motion for summary judgment.




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 Dated: March 24, 2025

                                      Respectfully submitted,


                                      /s/ Scott D. Gallisdorfer

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                                      Counsel for Amici Curiae




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                                        Appendix

                  Amici Curiae State and Regional Hospital Associations


Arizona Hospital and Healthcare Association       Arkansas Hospital Association
2800 N. Central Ave., Suite 1450                  419 Natural Resources Dr.
Phoenix, AZ 85004                                 Little Rock, AR 72205
(602) 445-4300                                    (501) 224-7878
https://www.azhha.org/                            https://www.arkhospitals.org

California Hospital Association                   Colorado Hospital Association
1215 K St., Suite 700                             1700 Lincoln St., Suite 3030
Sacramento, CA 95814                              Denver, CO 80203
(916) 443-7401                                    (720) 489-1630
https://calhospital.org                           https://cha.com

Connecticut Hospital Association                  Delaware Healthcare Association
110 Barnes Rd.                                    1280 S. Governors Ave.
Wallingford, CT 06492                             Dover, DE 19904
(203) 265-7611                                    (302) 674-2853
https://cthosp.org                                https://deha.org

Florida Hospital Association                      Georgia Hospital Association
306 E. College Ave.                               380 Interstate North Pkwy., Suite 150
Tallahassee, FL 32301                             Atlanta, GA 30339
(850) 222-9800                                    (770) 249-4500
https://www.fha.org                               https://www.gha.org

Greater New York Hospital Association             Healthcare Association of Hawaii
555 W. 57th St., Suite 15                         707 Richards St. PH2
New York, NY 10019                                Honolulu, HI 96813
(212) 246-7100                                    (808) 521-8961
https://www.gnyha.org                             https://www.hah.org

Healthcare Association of New York State          Hospital Association of Oregon
1 Empire Dr.                                      4000 Kruse Way Pl.
Rensselaer, NY 12144                              Lake Oswego, OR 97035
(518) 431-7600                                    (503) 636-2204
https://hanys.org                                 https://oregonhospitals.org

Idaho Hospital Association                        Illinois Health and Hospital Association
615 N. 7th St.                                    833 W. Jackson Blvd., Suite 610
Boise, ID 83702                                   Chicago, IL 60607
(208) 338-5100                                    (312) 906-6000
https://teamiha.org                               https://www.team-iha.org



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Indiana Hospital Association                      Iowa Hospital Association
500 N. Meridian St., Suite 250                    100 E Grand Ave., Suite 100
Indianapolis, IN 46204                            Des Moines, IA 50309
(317) 633-4870                                    (515) 288-1955
https://www.ihaconnect.org                        https://www.ihaonline.org

Kentucky Hospital Association                     Louisiana Hospital Association
2501 Nelson Miller Pkwy.                          9521 Brookline Ave.
Louisville, KY 40223                              Baton Rouge, LA 70809
(502) 426-6220                                    (225) 928-0026
https://www.kyha.com                              https://ihaonline.org

Massachusetts Health & Hospital Association       Michigan Health & Hospital Association
500 District Ave.                                 2112 University Park Dr.
Burlington, MA 01803                              Okemos, MI 48864
(781) 262-6000                                    (517) 323-3443
https://www.mhalink.org                           https://www.mha.org

Mississippi Hospital Association                  Missouri Hospital Association
116 Woodgreen Crossing                            4712 Country Club Dr.
Madison, MS 39110                                 Jefferson City, MO 65109
(601) 982-3251                                    (573) 893-3700
https://mhanet.org                                https://web.mhanet.com

New Jersey Hospital Association                   New Mexico Hospital Association
760 Alexander Rd.                                 7471 Pan American West Fwy. NE
Princeton, NJ 08540                               Albuquerque, NM 87109
(609) 275-4000                                    (505) 343-0010
https://www.njha.com                              https://www.nmhospitals.org

North Carolina Healthcare Association             North Dakota Hospital Association
2400 Weston Pkwy.                                 1622 E. Interstate Ave.
Cary, NC 27513                                    Bismarck, ND 58503
(919) 677-2400                                    (701) 224-9732
https://www.ncha.org                              https://www.ndha.org

Ohio Hospital Association                         Oklahoma Hospital Association
155 E. Broad St. Suite 301                        4000 N. Lincoln Blvd.
Columbus, OH 43215                                Oklahoma City, OK 73105
(614) 221-7614                                    (405) 427-9537
https://www.ohiohospitals.org                     https://www.okoha.com




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Tennessee Hospital Association                   The Hospital and Healthsystem Association
5201 Virginia Way                                of Pennsylvania
Brentwood, TN 37027                              30 N. 3rd St., Suite 600
(615) 256-8240                                   Harrisburg, PA 17101
https://www.tha.com                              (717) 564-9200
                                                 https://www.haponline.org

Texas Hospital Association                       Vermont Association of Hospitals and Health
1108 Lavaca St., Suite 700                       Systems
Austin, TX 78701                                 148 Main St.
(512) 465-1000                                   Montpelier, VT 05602
https://www.tha.org                              (802) 223-3461
                                                 https://www.vahhs.org

Virginia Hospital & Healthcare Association       Washington State Hospital Association
4200 Innslake Dr., Suite 203                     999 3rd Ave.
Glen Allen, VA 23060                             Seattle, WA 98104
(804) 965-1209                                   (206) 281-7211
https://vhha.com                                 https://www.wsha.org

West Virginia Hospital Association               Wisconsin Hospital Association
100 Association Dr.                              5510 Research Park Dr.
Charleston, WV 25311                             Fitchburg, WI 53711
(304) 344-9744                                   (608) 274-1820
https://wvha.org                                 https://www.wha.org

Wyoming Hospital Association
2005 Warren Ave.
Cheyenne, WY 82001
(307) 632-9344
https://www.wyohospitals.com




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                                     CERTIFICATE OF SERVICE

       I hereby certify that on March 24, 2025, I electronically filed the above document with the

Clerk of Court via the Court’s CM/ECF electronic filing system, which will send a notice of

electronic filing to all counsel of record identified on the docket.



                                                       /s/ Scott D. Gallisdorfer
                                                       Counsel for Amici Curiae
